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     Co-Counsel to the Debtors and Debtors in Possession

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

                                                                              )
     In re:                                                                   )    Chapter 11
                                                                              )
     PSI LIQUIDATION, INC., et al.,1                                          )    Case No. 21-30660 (KLP)
                                                                              )
                                Debtors.                                      )    (Jointly Administered)
                                                                              )

                  ORDER OF DISMISSAL, ABANDONMENT AND DISSOLUTION

              Upon the Debtors’ Motion for Entry of Orders (I) Implementing Terms of Asset Purchase

 Agreement; (II) Establishing Procedures With Respect to (A) Administrative, 503(B)(9), and

 Priority Claims and (B) Final Fee Applications; (III) Authorizing the Debtors to Make

 Distributions to Claimants Holding Allowed Administrative Claims, Allowed 503(B)(9) Claims,

 and Allowed Priority Claims; (IV) Authorizing the Debtors to Abandon Certain Property; (V)

 Dismissing the Debtors’ Chapter 11 Cases; (VI) Authorizing the Debtors to Be Dissolved in

 Accordance With Applicable State Law; and (VII) Granting Related Relief [Docket No. 560] (the

 “Motion”), that certain Order granting a portion of the relief requested in the Motion, entered on




 1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: Pine Holdings, Inc. (4460) and PSI Liquidation, Inc. (8035). The Debtors’ service address is: PSI
        Liquidation, Inc. c/o Willkie Farr & Gallagher LLP, 787 Seventh Avenue, New York, NY 10019. PSI
        Liquidation, Inc. was formerly known as Paper Source, Inc.
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 September 8, 2021 [Docket No. 765] (the “Implementation Order”), and the Certification in

 Support of Order of Dismissal, Abandonment and Dissolution, filed on November 10, 2021

 [Docket No. 812],

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

        1.         As provided in the Certification, the conditions to dismissal of these cases set forth

 in paragraph 11 of the Implementation Order, and all other requirements for entry this Order, have

 been satisfied.

        2.         Pursuant to sections 305(a) and 1112(b) of the Bankruptcy Code, each of these

 chapter 11 cases is dismissed effective as of the entry of this Order.

        3.         Notwithstanding anything to the contrary, including, without limitation, section 349

 of the Bankruptcy Code, all prior orders, releases, stipulations, settlements, rulings, orders and

 judgments of this Court made during the course of these chapter 11 cases, including, without

 limitation, the following orders, shall remain in full force and effect, shall be unaffected by the

 dismissal of these chapter 11 cases, and are specifically preserved for purposes of finality of

 judgment and res judicata unless expressly amended or overruled by a subsequent stipulation,

 settlement, order or judgment of this Court, as applicable:

                   (i)    Order (I) Approving the Sale of Substantially All of the Debtors’ Assets
                          Free and Clear of All Liens, Claims, Encumbrances and Interests;
                          (II) Authorizing the Assumption and Assignment of Certain Executory
                          Contracts and Unexpired Leases; and (III) Granting Related Relief [Docket
                          No. 486] (the “Sale Order”); and

                   (ii)   Final Order (A) Authorizing the Debtors to Obtain Postpetition Financing,
                          (B) Authorizing the Debtors to Use Cash Collateral, (C) Granting Liens
                          and Providing Superpriority Administrative Expense Status, (D) Granting
                          Adequate Protection, (E) Modifying the Automatic Stay, and (F) Granting
                          Related Relief [Docket No. 309].

        4.         Any executory contracts or unexpired non-residential leases listed in the Notice of

 Schedule of Assumed and Assigned Executory Contracts and Unexpired Leases [Docket No. 528]


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 or the Notice of Supplemental Schedule of Assumed and Assigned Executory Contracts [Docket

 No. 654] that have not been listed in a notice, motion or other pleading seeking rejection of such

 agreement and filed with the Court shall be deemed to be Purchased Contracts (as defined in the

 Sale Order), and shall be deemed to have been assumed by the applicable Debtor and assigned to

 Purchaser as of the closing of the Sale (as such terms are defined in the Sale Order).

        5.      The Official Committee of Unsecured Creditors (the “Committee”) is hereby

 dissolved. Each member (including each officer, director, employee, or agent thereof) of the

 Committee and each professional retained by the Committee is hereby released and discharged

 from all rights, duties, responsibilities, and obligations arising from, or related to the Committee.

 Each of the Committee’s professionals’ retention is terminated, effective immediately, without the

 need for further action on the part of this Court, the Debtors, the Committee or such professionals,

 and such professionals shall return any unearned retainer amounts to the Debtors in accordance

 with the Omnibus Order Granting Final Fee Applications of Professionals for Allowance and

 Payment of Compensation for Professional Services Rendered and for Reimbursement of Actual

 and Necessary Expenses [Docket No. 808].

        6.      The retention of Epiq Corporate Restructuring, LLC (“Epiq”) as the notice and

 claims agent in these cases is hereby terminated as of the date of this Order. Epiq is authorized to

 shred or otherwise dispose of all noticing and other documents that have been returned as

 undeliverable mail. Within thirty (30) days following entry of this Order, Epiq will (a) forward to

 the Court’s clerk an electronic version of all imaged items, (b) upload the creditor mailing list into

 CM/ECF, and (c) docket a final claims register. Epiq shall further box and transport all original

 claims to the Philadelphia Federal Records Center, 14470 Townsend Road, Philadelphia,




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 Pennsylvania 19154 and docket a completed SF-135 form indicating the accession and location

 numbers of the archived claims.

        7.      Pursuant to sections 105(a) and 554 of the Bankruptcy Code and Bankruptcy Rule

 6007, the Debtors are authorized, but not directed, to abandon or destroy, or cause to be abandoned

 or destroyed, any Remaining Assets (as such term is defined in the Motion), including any

 remaining books and records in their possession following entry of this Order. If such books and

 records contain personal identifying information, such books and records will be abandoned or

 destroyed only in a way that preserves the confidentiality of such personal identifying information.

        8.      As soon as reasonably practicable after entry of this Order, without the need for

 further action on the part of this Court and without the need for further corporate action,

 shareholder vote, or action of the boards of directors of the Debtors, the Debtors are authorized to

 dissolve in accordance with applicable state law, as modified by this Order. Any officer of the

 Debtors is authorized to execute and file on behalf of the Debtors all documents necessary and

 proper to effectuate and consummate the dissolution of the Debtors in accordance with the law of

 the state in which any Debtor entity is organized; provided, however, that the Debtors will not be

 required to pay any fees or taxes to effectuate, or in connection with, such dissolution.

        9.      The Debtors are hereby authorized and empowered to take any and all steps

 necessary and appropriate to effectuate the terms of this Order.

        10.     Notwithstanding the dismissal of the Chapter 11 Cases, this Court shall retain

 jurisdiction with respect to any matters, claims, rights or disputes arising from or related to the

 implementation, interpretation, or enforcement of this or any other Order of this Court entered in

 the Chapter 11 Cases.




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         Nov 21 2021
  Dated: __________                                           /s/ Keith L Phillips
  Richmond, Virginia                                   THE HONORABLE KEITH L. PHILLIPS
                                                       UNITED STATES BANKRUPTCY JUDGE

                                                       Entered On Docket: Nov 22 2021




 WE ASK FOR THIS:

  /s/ Christopher A. Jones
  Christopher A. Jones (VSB# 40064)                    John C. Longmire (admitted pro hac vice)
  David W. Gaffey (VSB# 85088)                         Matthew A. Feldman (admitted pro hac vice)
  Jae Won Ha (VSB# 94781)                              James H. Burbage (admitted pro hac vice)
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  Co-Counsel to the Debtors                            Co-Counsel to the Debtors
  and Debtors in Possession                            and Debtors in Possession




                           CERTIFICATION OF ENDORSEMENT
                        UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

        Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing proposed
 order has been endorsed by or served upon all necessary parties.

                                                         /s/ Christopher A. Jones




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